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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                              Criminal No. LKG-22-7

                    v.

MARILYN J. MOSBY,

                              Defendant


         The United States of America, by and through its undersigned attorneys, hereby submits

 this omnibus response to the following pretrial motions filed by the Defendant:

     (1) Defendant Marilyn J. Mosby’s Moton to Dismiss Indictment, ECF 17;

     (2) Defendant Marilyn J. Mosby’s Motion to Disqualify Counsel, ECF 18; and

     (3) Defendant Marilyn J. Mosby’s Motion for a Bill of Particulars, ECF 16.

     For the reasons outlined below, the Defendant’s motions are meritless and should be denied.



                         REQUEST TO EXCEED PAGE LIMITATIONS
         The Government chose to respond to three filings in a single response, which required the

 Government to exceed the 35-page limit in Local Rule 105.3.                The Government requests

 permission to exceed the page limit rather than separate this single filing into three separate filings.




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   I.      BACKROUND

        A federal grand jury sitting in Baltimore returned a four (4) count Indictment against the

Defendant on January 13, 2022, and a Superseding Indictment on March 10, 2022. The defendant

is charged with two counts of perjury, in violation of 18 U.S.C. § 1621 (Counts One and Three)

and two counts of making false statements on a loan application, in violation of 18 U.S.C. § 1014

(Counts Two and Four).

        Counts One and Three allege that the Defendant committed perjury on two separate

occasions. Count One alleges that on May 26, 2020, the Defendant submitted a request to

withdraw $40,000 from her City of Baltimore Deferred Compensation Plan falsely claiming, under

penalties of perjury, that she had suffered specific enumerated financial hardships resulting from

the COVID-19 pandemic. Superseding Indictment ¶ 3. Count Three alleges that on December 29,

2020, the Defendant submitted an additional request to withdraw $50,000 from the same City of

Baltimore Deferred Compensation Plan again falsely claiming, under penalties of perjury, that she

had suffered specific enumerated financial hardships resulting from the COVID-19 pandemic.

        The Defendant used the first COVID-19 financial hardship withdrawal as a down payment

to purchase an eight (8) bedroom single family home for $545,000 in September 2020. The

Defendant used the second COVID-19 financial hardship withdrawal as a down payment to

purchase a two (2) bedroom condominium for $476,000 in Long Boat Key, Florida, in February

2021.

        The City of Baltimore Deferred Compensation Plan in which the Defendant participated

was established under 26 U.S.C. § 457(b), and is therefore commonly referred to as a “457(b)

plan.” In her withdrawal requests, the Defendant claimed to have suffered from financial hardship

related to the COVID-19 pandemic, specifically, a financial hardship resulting from, “[b]eing



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quarantined, furloughed or laid off[,] Having reduced work hours[,] Being unable to work due to

lack of childcare[, or] The closing or reduction of house of a business I own or operate.” Id. at ¶

5. None of those conditions applied to the Defendant. Id. at ¶ 7. In fact, the Defendant’s gross

salary in 2020 was $247,955.58, and it was never reduced. She received bi-weekly gross pay direct

deposits in the amount of $9,183.54 in all the months leading up to her alleged hardship withdrawal

in May 2020. Rather than experiencing a reduction in income in 2020, the Defendant’s gross

salary in 2020 increased $9,183.54 over her 2019 salary. Id. at ¶ 8.

           Only state and local governments and some non-profit organizations can offer 457(b) plans

to employees. Id. at ¶ 2. While there are some similarities between 457(b) plans and other types

of retirement accounts, there are also notable differences. For example, an employee in the private

sector who participates in a 401(k) plan can make withdrawals prior to retiring but has to pay taxes

on the withdrawal and a ten percent penalty. By contrast, a 457(b) plan participant can only

withdraw funds prior to retirement if they leave government service or experience “unforeseen

emergencies,” that meet certain legal criteria. According to the Internal Revenue Service (IRS),

457(b) plans may only offer distributions to a participant based on an unforeseeable emergency

for:


       •   an illness or accident of the participant, the participant’s beneficiary, or the
           participant’s or beneficiary’s spouse or dependents;
       •   property loss caused by casualty (for example, damage from a natural disaster not
           covered by homeowner’s insurance) of the participant or beneficiary;
       •   funeral expenses of the participant’s spouse or dependent; and
       •   other similar extraordinary and unforeseeable circumstances resulting from events
           beyond the control of the participant or his or her beneficiary (for example,
           imminent foreclosure or eviction from a primary residence, or to pay for medical
           expenses or prescription drug medication).




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See Employee Plans News December 17, 2010, Unforeseeable Emergency Distributions from

457b Plans (Exhibit 1). Importantly, before making an “unforeseeable emergency” withdrawal, a

state or local employee must exhaust their other financial resources. Id.

        So, while a 401(k) plan participant can always withdraw funds from their account and pay

taxes and penalty, 457(b) plan participant cannot withdraw funds from their account before they

retire unless they leave government service or experience an “unforeseeable emergency” and

exhaust their other financial resources. 1

        The Coronavirus Aid, Relief, and Economic Security (CARES) Act created a new

withdrawal option in calendar year 2020 only for 457(b) plan participants who were affected by

COVID-19. Superseding Indictment ¶ 2. Specifically, as it relates to this case, in calendar year

2020, 457(b) plan participants were authorized to make withdrawals if they experienced “financial

hardship” resulting from: “[b]eing quarantined, furloughed or laid off[,] Having reduced work

hours[,] Being unable to work due to lack of childcare[, or] The closing or reduction of house of a

business I own or operate.” The CARES Act also provided that plan participants self-certify that

they met these criteria. Id. at ¶ 4.

        The Defendant exploited those CARES Act provisions in order to obtain $40,000 in May

2020, as charged in Count One, and an additional $50,000 in December 2020, as charged in Count

Three. 2 But for her false statements, the Defendant would not have been able to make the two

withdrawals charged in Counts One and Three. And without those two withdrawals, she would


1
 If a 457(b) plan participant takes a withdrawal before they retire, either because they leave
government service or because they experience an “unforeseeable emergency,” they owe taxes
on the withdrawal but, unlike 401(k) plan participants, they do not have to pay a 10 percent
penalty.
2
  Taxes were withheld by the City of Baltimore’s 457(b) plan administrator so the amount of
funds wired to the Defendant’s checking account was less than the total amount of the
withdrawal.
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not have been able to make the down payment on either of the two Florida vacation homes she

purchased in September 2020 and February 2021. Simply put, the Defendant’s perjury allowed

her to leverage $90,000 in funds she should not have had access to in order to get two vacation

homes. And as the Superseding Indictment makes clear, the Defendant’s false statements extended

beyond the COVID-19 financial hardship withdrawals to the mortgage applications for the

vacation properties themselves.

       The Defendant used the two COVID-19 financial hardship withdrawals as down payments

on two vacation homes in Florida she purchased in late 2020 and early 2021. At the time she made

both purchases she owed significant debt to the IRS for unpaid taxes. That debt dated to tax years

2014 and 2015. Id. at ¶ 5. Specifically, when the Defendant and her husband filed their joint

return for 2014, they owed the IRS $46,556, which they did not pay, id. at ¶5(a), and when they

filed their joint return for 2015, they owed the IRS $17,812, which they did not pay, id. at ¶5(b).

In tax years 2016, 2017 and 2018, the Defendant and her husband filed joint returns that claimed

they were entitled to refunds. Id. at ¶¶ 8, 9 and 10. However, they never received any of those

refunds because the IRS applied them against the Defendant and her husband’s outstanding tax

debts. Id. In all of those years, the IRS also sent multiple notices to the Defendant and her husband

at their home telling them that they owed unpaid taxes and that their refunds were being applied

against those debts. Id. at ¶¶ 6, 7, 8, 9 and 10.

       Because the Defendant and her husband did not satisfy their outstanding tax debts, on or

about March 3, 2020, the IRS placed a lien on “all property and rights to property belonging to”

the Defendant in the amount of the unpaid taxes the Defendant owed the IRS as of that date which

was in the amount of $45,022.” Id. at ¶ 11. The lien was not against the home in which the




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Defendant. Id. The IRS sent the Defendant and her husband, individually, a notice that a lien had

been filed against them by certified mail to their home address. Id.

       After the IRS filed this lien, on or about June 17, 2020, the Defendant filed her individual

income tax return for 2019. Id. at ¶ 13. For that tax year, 2019, the Defendant and her husband

filed separate returns. Id. On her return, the Defendant claimed a refund of $549. The Defendant

did not receive that refund, however, because it was applied against taxes the Defendant and her

husband owed the IRS. Id.

       A little more than a month later, on July 28, 2020, the Defendant signed a contract to

purchase an eight (8) bedroom single family home in Kissimmee, Florida for $545,000 and applied

for a mortgage from Cardinal Financial in the amount of $490,500. Id. at ¶ 14. The Defendant

closed on that property on September 2, 2020. Id. On that date she signed a second mortgage

application with Cardinal. The Defendant used the COVID-19 financial hardship withdrawal she

had made in May 2020 towards the down payment for this property.

       The Defendant made a series of false statements, as charged in Count Two of the

Superseding Indictment, in both of those mortgage applications with Cardinal.             First, the

application required the Defendant to disclose her liabilities. The Defendant did not disclose that

she owed significant amounts of federal taxes. Superseding Indictment Count Two ¶ 15. Second,

in response to a different question, “Are you presently delinquent or in default on any Federal debt

or any other loan, mortgage, financial obligation, bond, or loan guarantee,” the Defendant

indicated “no” despite the fact that she was delinquent in the payment of federal taxes resulting in

the IRS filing a $45,022 lien against her on March 3, 2020. Id. at ¶ 16. Third, at closing on

September 2, 2020, the Defendant signed a “Second Home Rider,” which provided that she would

maintain “exclusive control” over the ownership property and would not “subject the Property to



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any…agreement that requires the Borrower either to rent the Property or give a management firm

or any other person or entity any control over the occupancy or use of the Property.” Id. at 18.

The Defendant signed and dated the Second Home Rider below a line that stated, “BY SIGNING

BELOW, Borrower accepted and agrees to the terms and covenants contained in this Second Home

Rider.” Id. That statement was false because on August 25, 2020, approximately one week before

she signed the Second Home Rider, the Defendant had executed an agreement with a vacation

home management company giving the management company control over the rental of the

property she ultimately purchased in Kissimmee. Id. at ¶ 17. The agreement stated, in relevant

part, “The Manager will always be obligated to and have the right to offer the Vacation Home for

rent during the time of this contract, UNLESS PRE-BOOKED ON THE COMPANIES [sic]

COMPUTERISED BOOKING SYSTEM BY OWNER.” Id.

       By falsely executing the Second Home Rider, the Defendant could obtain a lower interest

rate on the mortgage for the property than the one she would have received if she had not executed

the Second Home Rider, and reduced the amount of cash the Defendant had to put down in order

to buy the home. Id. at ¶ 19.

       The Defendant used the second COVID-19 financial hardship withdrawal she made in

December 2020, to purchase a second vacation property, a two bedroom condominium in Long

Boat Key, Florida, for $476,000 in February 2021. The Defendant applied for a $428,400

mortgage with Universal Wholesale Mortgage to pay for this property. Superseding Indictment

Count Four ¶ 24. The Defendant made a number of false statements in the applications for this

mortgage, which she signed on January 14, 2021, and then later, at closing, on February 19, 2021.

Id.




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       First, the application required the Defendant to disclose her liabilities. The Defendant did

not disclose that she owed significant amounts of federal taxes. Id. at ¶25.

       Second, in response to the question, “Are you presently delinquent or in default on any

Federal debt or any other loan, mortgage, financial obligation, bond, or loan guarantee,” the

Defendant indicated “no” despite the fact that she was delinquent in the payment of federal taxes

resulting in the IRS filing a $45,022 tax lien against her on March 3, 2020. Id. at ¶26.

       Third, included in the closing documents was a document titled, “ATTENTION

SETTLEMENT AGENT,” which provided that “The borrower(s) must attest to the following

statements as a part of closing their loan. If any of the information below is not true and the

borrower cannot attest to ANY part of it, DO NOT PROCEED WITH THE CLOSING AND

CONTACT THE LENDER for further guidance.” Below this statement the Defendant identified

her “Current Financial Obligations,” as the mortgage on the Kissimmee, Florida, home she had

purchased earlier in 2020, three installment loans, the car loan for her BMW, and a revolving credit

card liability. the Defendant did not disclose her federal tax debt or the fact that the IRS had filed

a $45,022 lien against her on March 3, 2020. Below these entries and above her signature was the

following attestation: “the above debts/liabilities are all to which I am currently obligated, per my

credit report dated JANUARY 9, 2021, and/or any other debts that were presented on my loan

application. There are no additional installment debts, home equity lines or mortgages.”

       Fourth, in order to close on the Long Boat vacation home, the Defendant needed

$35,699.15 in cash. As of January 25, 2021, she had only $31,043.24 in liquid assets in her

checking account. Id. at ¶ 30. Rather than wait for her next paycheck, the Defendant submitted a

false gift letter to Universal Wholesale Mortgage on February 9, 2021. Id. In it, she falsely claimed

that her husband had made her a gift of $5,000 “to be transferred AT CLOSING” to be applied



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toward the purchase of the Long Boat Key vacation home. Id. The letter further stated that the

source of the funds was her husband’s Municipal Employee Credit Union (MECU) account ending

in 0882. Id. On February 17, 2021, two days before closing, the Defendant’s husband wired

$5,000 to the escrow agent. Id. However, the $5,000 was not, in fact, a gift the Defendant’s

husband made to her, as the Gift Letter represented. Id. Rather, the Defendant had wired the

$5,000 to her husband’s MECU account ending in 0882 on February 12, 2021. Id. Her husband

then transferred the money from that account to his MECU savings account ending in 4022 and

then transferred it back to his MECU checking account ending in 0882 before wiring it to the

escrow agent. The Defendant submitted the false gift letter on February 9, 2021, in order to lock

in a lower interest rate than she would have received if she waited until she her next paycheck. Id.

         Fifth, she drafted a letter, which her loan broker submitted to Universal Wholesale

Mortgage in which she claimed to have lived in Florida for 70 days before she submitted her

mortgage application on January 14, 2021. In that January 14, 2021, application the Defendant

indicated that the mortgage would be for a primary residence. Universal Wholesale Mortgage

reviewed the letter in which the Defendant indicated she had lived in Florida for 70 days when it

reclassified the home from a primary residence to a secondary one.

   II.      THE DEFENDANT’S MOTION TO DISMISS FOR VINDICTIVE AND
            SELECTIVE PROSECUTION IS MERITLESS AND SHOULD BE DENIED

         The Defendant asks this Court to dismiss the Superseding Indictment returned by the

federal grand jury pursuant to Federal Rule of Criminal Procedure 12(b)(3)(iv), asserting that it is

a product of “selective or vindictive prosecution.” Mot. to Dismiss at 2. The Defendant’s motion

finds no support in the facts, the law, or even logic and should be denied as meritless. The personal

attacks on AUSAs Wise and Schenning that the Defendant makes in her motion—falsely claiming

they harbor “personal and political animus” towards her and even calling them racists—do not

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establish vindictive or selective prosecution. Name calling is not facts and that is all the Defendant

offers.

          The Defendant’s meritless motion to dismiss is part of a pattern. The Defendant publicly

attacks any law enforcement professional who questions her behavior: Isabel Mercedes Cumming,

the Baltimore City Inspector General, Lydia Lawless, the Bar Counsel, Assistant United States

Attorney Leo Wise, former Acting U.S. Attorney Stephen M. Schenning and now even United

States Attorney Erek L. Barron.

          The Defendant has invented a tale of victimhood in an attempt to deflect attention from her

own behavior. As the evidence at trial will show, the only thing the Defendant is a victim of is her

own lies and choices.

          The sole basis that the Defendant offers for her claim of “personal animus” is the fact that

Assistant United States Attorney (AUSA) Wise provided information to the court in 2017, three

years before the investigation in this case began, that a member of the Baltimore Police

Department’s Gun Trace Task Force (GTTF) had been tipped off by an Assistant State’s Attorney

(ASA) that members of the GTTF were under investigation. This information was offered in

support of the Government’s motion, which was granted, to detain the GTTF defendants pending

trial. The Defendant bizarrely claims this was a “smear campaign” targeting her. In so doing, she

misrepresents what actually occurred during the GTTF case, which is addressed below. The

Defendant’s argument is particularly nonsensical because the Defendant was never alleged to have

been involved in the tip-off, and second, as summarized below, it is an incontrovertible fact that

such a tip off occurred and the Defendant has known it occurred since 2018. In fact, the Defendant

fired the individual responsible for the tip-off because of it, something the Defendant fails to

disclose to the Court.



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       The sole basis that the Defendant cites in support of her claim of “political animus” is the

fact that AUSA Wise made two solicited $100 campaign contributions to individuals with whom

he had pre-existing professional relationships in the 2018 democratic primary for Baltimore City

State’s Attorney. AUSA Wise also made a $100 solicited donation to another former colleague in

the 2018 election cycle who was running for Congress in Virginia. The Defendant’s theory appears

to be that AUSA Wise made these contributions because he thought $200 could change the

outcome of a city-wide and then, when he was unsuccessful, he lay in wait for three years in order

to launch a “witch hunt” targeting the Defendant. Somehow, although the Defendant never

addresses how, AUSA Wise then convinced the FBI, the IRS, the Tax Division of the U.S.

Department of Justice, his two colleagues on the prosecution team, and not one but three U.S.

Attorneys from two different Administrations to go along with it. This claim of “political animus”

is preposterous.

       As for the Defendant’s claim that AUSAs Wise and Schenning are racist, she offers no

evidence because there is none. Instead, the Defendant misquotes and mischaracterize two 12-

year-old news articles that criticized the House Ethics Committee, not AUSA Wise as she falsely

claims. News articles, whether accurately quoted or not, are not facts. The Defendant’s citation

to the fact that AUSA Wise has successfully prosecuted a number of Baltimore-area politicians

also does not give rise to any inference of racial animus. AUSA Wise has successfully prosecuted

hundreds of defendants in his 17-year career with the U.S. Department of Justice.

       At times, the Defendant’s meritless allegations get ahead of her own ability to make up

facts to support them. For example, the Defendant writes, “Lead Prosecutor Assistant United

States Attorney Leo Wise (“AUSA Wise”) in particular has been involved in several attempts to

sabotage State’s Attorney Mosby’s career from the beginning of her time in office.” Mot. to



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Dismiss at 1 (emphasis added). The Defendant was first elected State’s Attorney for Baltimore

City in 2014. The first event that the Defendant describes in her motion, when the Government

provided information to this court that an ASA tipped off former GTTF Sergeant Wayne Jenkins,

occurred in 2017, years after the Defendant’s election. So what is it that AUSA Wise did “from

the beginning of her time in office?” The Defendant never says. Similarly, the Defendant doesn’t

bother to describe what the “several” attempts to sabotage State’s Attorney Mosby’s career were.

It clearly was not the accurate and appropriate disclosure of the tip-off to this court, because the

Defendant herself showed she agreed it was true when she fired the ASA who did it. And it clearly

wasn’t making two $100 solicited donations to individuals with whom AUSA Wise had a pre-

existing professional relationship. The Defendant’s inability to even articulate what these

“sabotage attempts,” were shows how just how baseless the entire motion is. Similarly, the

Defendant asserts, “the United States Attorney for the District of Maryland, Erek Barron—who is

overseeing the prosecution and signed the Indictment against State’s Attorney Mosby—also has

had a fair share of conflicts with State’s Attorney Mosby,” and then fails to articulate a single one.

Mot. to Dismiss at 23.

       The Defendant’s theory of selective and vindictive prosecution also just doesn’t make any

sense. The Defendant writes that “These facts make clear exactly what AUSA Wise’s goal was

here: settle a score with State’s Attorney Mosby and derail her career in elected office.” Mot. to

Dismiss at 14. But she never explains what this supposed “score” was that needed to be settled,

because no such “score” exists.

       A. No Legal Authority Supports the Defendant’s Motion to Dismiss

       The Defendant has no legal support for her arguments. First, the Defendant misapplies the

vindictive prosecution doctrine to this case. Second, while the Defendant asks this Court to dismiss



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the Superseding Indictment based on both vindictive and selective prosecution grounds, the

Defendant only cites the standards for vindictive prosecution. She fails to apply or even cite the

different standard for selective prosecution.      In any event, as explained further below, the

Defendant fails to meet either standard. Finally, the Defendant does not cite a single case where

an indictment was dismissed based on factual assertions, false as they may be, similar to that which

she offers in her in the Motion to Dismiss.

              1. Vindictive Prosecution Occurs When a Defendant is Punished for Exercising a
                 Clearly Established Right: Defendant Makes No Such Claim Here

        In United States v. Goodwin, 457 U.S. 368 (1982), a case where the defendant moved to

set-aside his conviction on the grounds of vindictive prosecution, the Supreme Court described the

vindictive prosecution doctrine in this way:

        To punish a person because he has done what the law plainly allows him to do is a
        due process violation “of the most basic sort.” Bordenkircher v. Hayes, 434 U.S.
        357, 363, 98 S.Ct. 663, 668, 54 L.Ed.2d 604. In a series of cases beginning
        with North Carolina v. Pearce and culminating in Bordenkircher v. Hayes, the
        Court has recognized this basic—and itself uncontroversial—principle. For while
        an individual certainly may be penalized for violating the law, he just as certainly
        may not be punished for exercising a protected statutory or constitutional right.

Id. at 372.

        More recently, another district court in this circuit described the doctrine in this way:

        … the vindictive prosecution doctrine bars a prosecutor from punishing a criminal
        defendant for exercising a clearly-established right. The doctrine is intended to
        prevent the government from exacting a price from such a defendant by, inter
        alia, adding new charges against him that would result in an increased prison
        sentence. The law therefore intercedes to prevent the government from punishing a
        defendant for doing what the law plainly allows him to do.

United States v. Santana, 509 F. Supp. 2d 563, 565 (E.D. Va. 2007), aff'd in part, 352 F. App’x

867 (4th Cir. 2009).




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       All of the cases cited in the Defendant’s Motion to Dismiss involving claims of vindictive

prosecution are cases where a defendant asserted the exercise of a statutory or constitutional right.

None of them were ones asserting, as the Defendant does here, claims of “animus” divorced from

any assertion of a legal right. Even still, in none of the cases cited by the Defendant in her motion

was a finding of vindictiveness successful:

           •   In United States v. Stokes, Mot. to Dismiss at 1-2, the defendant claimed vindictive
               prosecution when he was acquitted in state court of a murder charge and then
               indicted, federally, on a handgun charge related to that murder. 124 F.3d 39, 41-
               42 (1st Cir. 1997). The First Circuit reversed the district court’s finding of
               vindictiveness and dismissal of the indictment. Id.

           •   In United States v. Wilson, Mot. to Dismiss at 3, the defendant claimed vindictive
               prosecution asserting that “the U.S. Attorney for the Eastern District of North
               Carolina prosecuted Wilson on the request of the U.S. Attorney for the District of
               South Carolina solely in furtherance of personal animus against Wilson based on
               Wilson's successful appeal of an unrelated conviction obtained by the South
               Carolina U.S. Attorney.” 262 F.3d 305, 314 (4th Cir. 2001) (emphasis added). The
               Fourth Circuit reversed the district court’s dismissal of the indictment on a finding
               of vindictive prosecution.

           •   In Bordenkircher v. Hayes, Mot to Dismiss at 17, in a habeas petition, the defendant
               claimed vindictive prosecution because in plea negotiations, the Government
               indicated that if the defendant did not plead guilty, it would seek a superseding
               indictment that included more serious charges. 434 U.S. 357, 358-359 (1978). The
               defendant rejected the Government’s plea offer, was indicted on more serious
               charges and went to trial and was convicted. Id. The Supreme Court rejected the
               defendant’s claim of vindictive prosecution. Id.

           •   In United States v. Goodwin, Mot. to Dismiss at 3, the defendant claimed vindictive
               prosecution when, after he requested a jury trial on a pending misdemeanor charge,
               the Government indicted him on felony charges arising out of the same incident.
               457 U.S. 368, 371 (1982). Like in Bordenkircher, the Supreme Court reversed the
               Court of Appeals decisions to dismiss the indictment on finding a presumption of
               vindictiveness.

         “A criminal defendant faces a substantial burden in bringing a vindictive prosecution

claim.” United States v. Johnson, 325 F.3d 205, 210 (4th Cir. 2003). “To establish

prosecutorial vindictiveness, a defendant must show, through objective evidence, that (1) the


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prosecutor acted with genuine animus toward the defendant and (2) the defendant would not have

been prosecuted but for that animus.” United States v. Wilson, 262 F.3d 305, 314 (4th Cir. 2001)

citing United States v. Goodwin, 457 U.S. 368, 372 at 380 n. 12 (1982) (noting that the charges

must be brought “solely to ‘penalize’ the defendant and could not be justified as a proper exercise

of prosecutorial discretion”); United States v. Sanders, 211 F.3d 711, 717 (2d Cir. 2000).

       Importantly, “actual vindictiveness” as opposed to a presumption of vindictiveness, can

only be established if there is direct evidence that the government connected the decision to charge

to the exercise of some legal right by a defendant. United States v. Goodwin, 457 U.S. 368, 380–

81 (1982) (“This case, like Bordenkircher, arises from a pretrial decision to modify the charges

against the defendant. Unlike Bordenkircher, however, there is no evidence in this case that could

give rise to a claim of actual vindictiveness; the prosecutor never suggested that the charge was

brought to influence the respondent's conduct.”).

       “If the defendant is unable to prove an improper motive with direct evidence, he may still

present evidence of circumstances from which an improper vindictive motive may be presumed.”

To invoke such a presumption, a defendant must show that the circumstances “pose a realistic

likelihood of ‘vindictiveness.’” Wilson 262 F.3d at 314 quoting Blackledge v. Perry, 417 U.S. 21,

28–29, 94 (1974).

       In this case, the Defendant does not argue actual vindictiveness. She offers no evidence

that the decision to charge was connected, in any way, to her exercise of a right protected by the

law. Moreover, the Defendant has not even argued that the charging decision was connected to

her exercise of a protected right. Therefore, she is unable to show a “reasonable likelihood of

vindictiveness,” as the law requires.




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       And critically for this case, as the Fourth Circuit further explained in Wilson, “Because the

presumption of vindictiveness must be applicable to all cases presenting the same circumstances,

it will rarely, if ever, be applied to prosecutors’ pretrial decisions. See id. at 315 citing Godwin,

457 U.S. at 381. That is precisely what the Defendant is doing here—attacking charging decisions

made prior to any trial on this matter. The Fourth Circuit in Wilson explained the reason for the

distinction between pre and post-trial decisions in this way:

       Because of the broad discretion given prosecutors and the wide range of factors that
       may properly be considered in making pretrial prosecutorial decisions, “a
       prosecutor should remain free before trial to exercise [that] broad discretion
       entrusted to him to determine the extent of the societal interest in prosecution. An
       initial decision should not freeze future conduct.” Id. at 382, 102 S.Ct. 2485. “Thus,
       a change in the charging decision made after an initial trial is completed is much
       more likely to be improperly motivated than a pretrial decision.” Id. at 381.

Wilson, 262 F.3d at 315 quoting Goodwin, 457 U.S. at 381-382. As the Fourth Circuit noted more

recently in United States v. Lucas:

       This court has stated that a presumption of vindictiveness typically arises where a
       defendant's successful appeal necessitates a retrial on the same charge. Wilson, 262
       F.3d at 319. In such a case, a presumption of vindictiveness is recognized because
       of the “ ‘institutional bias against the retrial of a decided question.’ ” Id. at 318

62 F. App’x 53, 57 (4th Cir. 2003) (emphasis in original). This case obviously does not present a

situation where a decision was made to retry a defendant. So, the Defendant is asking the Court

to presume vindictiveness at the pretrial phase, something the Fourth Circuit has cautioned that

“rarely, if ever” should occur. And it should not occur here.

       “When a presumption of vindictiveness is warranted, the burden shifts to the government

to present objective evidence justifying its conduct.” Id. citing Godwin, 457 U.S. at 381. The

Defendant has not and cannot establish that such a presumption is warranted and therefore the

burden has not shifted to the government to present “objective evidence justifying his conduct.”




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However, as described below, there is, in any case, objective evidence justifying the Government’s

conduct at every stage.

       Finally, the Defendant fails to even address the second prong of Wilson in her motion. She

offers no evidence that “the defendant would not have been prosecuted but for that animus.” The

detailed Superseding Indictment describes how the Defendant committed perjury on two

occasions—claiming she had suffered from COVID-19 related financial hardships—and made

multiple false statements in mortgage applications for two different properties. Since the onset of

the COVID-19 pandemic and the changes in federal law and federal spending that it triggered, the

United States Department of Justice has pursued prosecutes COVID-19 related fraud in every

district in the United States. And the Department of Justice has long prosecuted mortgage fraud.

The Defendant offers no evidence, because there is none, that we should not have been prosecuted

for these serious offenses “but for [] animus.”

           2. The Defendant Does Not Cite Any Relevant Authority on Selective Prosecution in
              Her Motion Let Alone Meet Her Burden to Establish It

       While the Defendant uses the phrase “selective prosecution” in her motion, she fails to

even cite the legal standard a defendant must meet to prove it. Like with claims of vindictive

prosecution, “The burden on a party seeking to dismiss an                 indictment on the basis

of selective prosecution is high.” United States v. Venable, 666 F.3d 893, 900 (4th Cir. 2012), as

amended (Feb. 15, 2012). “‘In order to dispel the presumption that a prosecutor has not violated

equal protection, a criminal defendant must present clear evidence to the contrary,’ demonstrating

that the government was motivated by a discriminatory purpose to adopt a prosecutorial policy

with a discriminatory effect.” Id. at 465, quoting Armstrong, 517 U.S. at 465. “To make this

showing, a defendant must ‘establish both (1) that similarly situated individuals of a different race

were not prosecuted, and (2) that the decision to prosecute was invidious or in bad

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faith.’” Venable, 666 F.3d at 465 quoting United States v. Olvis, 97 F.3d 739, 743 (4th Cir.1996). 3

Beyond a lack of legal analysis on this standard, the Defendant offers no evidence that “similarly

situated individuals of a different race were not prosecuted.” Therefore, her selective prosecution

claim fails.

               3. The Decision to Charge in this Case is Presumptively Lawful and the Defendant
                  Has Not Proffered Any Evidence to Overcome this Presumption

          “[A] prosecutor’s charging decision is presumptively lawful,” regardless of whether the

defendant claims vindictive or selective prosecution.” Wilson, 262 F.3d at 315 (4th Cir. 2001)



3
    As the Fourth Circuit explained in Venable:
          Defendants are similarly situated when their circumstances present no
          distinguishable legitimate prosecutorial factors that might justify making different
          prosecutorial decisions with respect to them. Olvis, 97 F.3d at 744. “Generally, in
          determining whether persons are similarly situated for equal protection purposes,
          a court must examine all relevant factors.” Id. Of particular significance here, the
          district court cannot only consider the other persons’ “relative culpability,” but
          must “take into account several factors that play important and legitimate roles in
          prosecutorial decisions.” Id. Examples of such factors include: (1) a prosecutor’s
          decision to offer immunity to an equally culpable defendant because that
          defendant may choose to cooperate and expose more criminal activity; (2) the
          strength of the evidence against a particular defendant; (3) the defendant’s role in
          the crime; (4) whether the defendant is being prosecuted by state authorities; (5)
          the defendant's candor and willingness to plead guilty; (6) the amount of
          resources required to convict a defendant; (7) the extent of prosecutorial
          resources; (8) the potential impact of a prosecution on related investigations
          and prosecutions; and (9) prosecutorial priorities for addressing specific types of
          illegal conduct. Id. Our analysis of these factors is not to be conducted in a
          mechanistic fashion, however, because “[m]aking decisions based on the myriad
          of potentially relevant factors and their permutations require the very professional
          judgment that is conferred upon and expected from prosecutors in discharging
          their responsibilities.” Id. As such, we have rejected a “narrow approach to
          relevant factors to be considered when deciding whether persons are similarly
          situated for prosecutorial decisions.” Id.
666 F.3d 893, 900–01 (4th Cir. 2012), as amended (Feb. 15, 2012).


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citing United States v. Armstrong, 517 U.S. 456, 464, (1996). In this case, the Defendant’s

imagined animus does not overcome that presumption. As the Supreme Court explained in

Armstrong:

          A selective-prosecution claim asks a court to exercise judicial power over a “special
          province” of the Executive. The Attorney General and United States Attorneys
          retain broad discretion to enforce the Nation's criminal law.... As a result, [t]he
          presumption of regularity supports their prosecutorial decisions and, in the absence
          of clear evidence to the contrary, courts presume that they have properly discharged
          their official duties. In the ordinary case, so long as the prosecutor has probable
          cause to believe that the accused committed an offense defined by statute, the
          decision whether or not to prosecute, and what charge to file or bring before a grand
          jury, generally rests entirely in his discretion.

In Wilson, the Fourth Circuit held that “the same may be said of vindictive prosecution claims.

Wilson, 262 F.3d at 315. “Judicial authority is . . . at its most limited” when reviewing the

Executive’s charging determinations, because the judiciary is generally “not competent to

undertake” such an assessment. See United States v. Fokker Servs. B.V., 818 F.3d 733, 741 (D.C.

Cir. 2016).

          As summarized below, there is no “clear evidence to the contrary,” in the Defendant’s

Motion to Dismiss that can overcome the presumption of regularity afforded the decision to

prosecute in this case.

              4. The Defendant’s Citations to the Justice Manual are Inapposite

          The Defendant repeatedly cites provisions of the Justice Manual as if it could offer legal

support for their meritless claims. See Mot. to Dismiss at 13, 15, 16 and 17. It does not and cannot.

The very first title of the Justice Manual, which describes its organization and function, expressly

states,

          The Justice Manual provides internal DOJ guidance. It is not intended to, does not,
          and may not be relied upon to create any rights, substantive or procedural,
          enforceable at law by any party in any matter civil or criminal. Nor are any
          limitations hereby placed on otherwise lawful litigation prerogatives of DOJ.

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Justice Manual § 1-1.200 Authority. Despite this clear and unambiguous language, the Defendant

repeatedly, erroneously, urges the Court to rely on it to dismiss the Superseding Indictment. See,

e.g., Mot. to Dismiss at 13.

           5. The Defendant Does Not Cite a Single Case Where a Court Has Dismissed a
              Superseding Indictment Based on Factual Assertions Similar to those Made by the
              Defendant

       Finally, the Defendant’s Motion to Dismiss is devoid of citations to any case, reported or

unreported, in any federal court, in any district in the United States where an indictment was

dismissed based on factual representations like the ones made here, inaccurate as they are. She

has not cited any authority for the relief she seeks here because there is none.

       B. The Defendant Offers No Factual Basis for Her Claims of Animus Because There
          is None

       The Defendant offers no accurate factual basis for her claims. That is because the

Defendant’s motion is riddled with inaccuracies and misstatements. Some of these are false

accounts of things that actually happened, while others are facts that the Defendant has simply

made up. The Government will attempt to correct these errors so that the Court has an accurate

record before it.

               1. An Assistant State’s Attorney Tipped Off Wayne Jenkins that He Was Under
                  Investigation; the Government’s Proffer of that Information to the Court is Not
                  a “Smear Campaign” Against the Defendant

       Under the heading, “Mr. Wise Baselessly Smears State’s Attorney Mosby Over the

Baltimore Gun Trace Task Force Prosecution,” the Defendant asserts that, “In 2017, Mr. Wise and

then-Acting U.S. Attorney Stephen Schenning (“Mr. Schenning”) began a smear campaign to

falsely accuse State’s Attorney Mosby and her staff of improperly leaking the federal GTTF

investigation to lead the lead suspect in the police corruption scandal.” Mot. to Dismiss at 4. The



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Defendant goes on to claim that, “[t]his campaign came to a head in January 2018 when, during a

plea hearing for Mr. Wayne Jenkins, Mr. Wise made an on-the-record assertion that State’s

Attorney’s Mosby’s office was leaking information about the federal investigation to the lead

suspect in the case.” Id. The Defendant then claims that she “demanded a meeting with AUSA

Wise and the documentation and notes that supported Mr. Wise’s assertion.” During this meeting,

the Defendant claims that “Mr. Wise was unable to produce any further proof to support the

USAO’s public statements that State’s Attorney Mosby’s Office leaked information about the

GTTF prosecution beyond his own say-so.” Id. Finally, the Defendant asserts that, “Specifically,

despite identifying the alleged source of the information at the prior proffer session with Mr.

Jenkins, Mr. Wise was unable to identify or corroborate anything in his notes that supported his

public assertion.” In support of these factual assertions, the Defendant cites only her own lawyer’s

factually inaccurate letters to the Department of Justice from March 2021. See Exhibits A and B

to Motion to Dismiss. Far from being evidence of anything, these two letters were a publicity stunt

by the Defendant’s counsel. He wrote them to the U.S. Department of Justice’s Office of

Professional Responsibility (hereafter “OPR”) on not one but two occasions, marked these letters

as “Confidential,” and then promptly leaked them to the press. See McKenna Oxenden, Attorneys

for Baltimore officials Nick and Marilyn Mosby accuses federal prosecutors of misconduct, seeks

suspension of investigation, THE BALTIMORE SUN, March 23, 2021 (Exhibit 2). 4

       The Defendant’s claim that she was the victim of a smear-campaign during the GTTF

investigation is breathtakingly disingenuous. The Defendant never disclosed to the Court in her

Motion to Dismiss that she fired the ASA who tipped off Jenkins when the U.S. Attorney’s Office




4
 The first letter to OPR that the Defendant leaked to the press was incorrectly post-dated May
19, 2021 – months after it was sent and leaked.
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informed her that the ASA had done so. On April 20, 2018, an attorney retained by the Defendant

wrote a letter threatening to sue the ASA who had tipped off Jenkins. See Letter from James W.

Webster, April 20, 2018 (Exhibit 3). The letter begins, “I write this letter on behalf of Marilyn

Mosby, whom I represent in her personal capacity.” The letter continues, “You were terminated

because an FBI investigation revealed you had leaked the existence of an investigation of certain

members of the Baltimore Police Department’s Gun Trace Task Force (“G.T.T.F.”) to another

member of the G.T.T.F.” Id. at 2. The Defendant’s lawyer’s letter then summarizes a letter from

then Acting U.S. Attorney Schenning to the Defendant at length which contained the evidence of

the tip-off the FBI had gathered. See Letter from Acting U.S. Attorney Schenning to Marilyn

Mosby, February 15, 2018 (Exhibit 4). If this was a smear-campaign, why the Defendant fire the

ASA who was involved in it and then hire lawyers to threaten to sue the ASA if she claimed

otherwise?

       Further, every one of the factual assertions the Defendant makes about the conduct of the

GTTF prosecution is wrong.

       First, Wayne Jenkins admitted, under oath in front of United States District Court Judge

Catherine C. Blake, who by that point was presiding over the case against Jenkins and the other

GTTF defendants, that he had learned that members of the GTTF were under investigation from a

member of the State’s Attorney’s Office. The tipoff is not something that AUSA Wise said at

Jenkins guilty plea hearing as the Defendant incorrectly asserts – it is something Jenkins said.

Furthermore, the Government learned of the tip off not from a proffer with Jenkins, as the

Defendant also incorrectly asserts, but from a recorded conversation between two of Jenkins’ co-

conspirators corroborated by telephone toll records that showed Jenkins spoke to an individual

identified as an ASA for 17 minutes immediately before the recorded conversation between his



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co-conspirators. Below is the relevant paragraph from Attachment A, the statement of facts from

Jenkins’ guilty plea, where he made that admission:




Attachment A to Jenkins Plea Agreement, Cr. No. 17-106, ECF 254, filed January 5, 2018 (Exhibit

5).

       At Jenkins’ guilty plea hearing on January 5, 2018, Judge Blake reviewed this factual

statement with him.

               THE COURT: . . . Paragraph 8 says that you agree to the statement of facts.
       There is a lengthy Attachment A which I will try to summarize briefly with you.
       That is a statement of facts.

               Let me just be clear: Did you read that statement of facts as well –

               THE DEFENDANT: Yes, ma’am.

               THE COURT: -- Mr. Jenkins?

                All right. It says that you agree that if the Government did go to trial in this
       case, it could prove beyond a reasonable doubt all the charges against you.

              You agree to certain facts that at least the Government could have proved
       going to trial …

Jenkins Guilty Plea Trans. at 15:25-16:11 (Exhibit 6).

       Judge Blake then proceeded to summarize the facts in Jenkins’ plea agreement. When

Judge Blake came to paragraph 56 of the Statement of Facts, she summarized it this way: “It relates



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that you learned at some time in 2016 about the existence of this federal investigation and shared

that information with others.” Id. at 17:19-21. After summarizing the entire lengthy statement of

facts that was incorporated in Jenkins’ plea agreement, Judge Blake asked Jenkins, “Do you agree

that the statement of facts, with the further acknowledgement by your counsel, but do you agree

that is correct and you did what it says in there you did?” to which Jenkins responded, “Yes,

ma’am.” Id. at 22:14-19.

       Thus, it is incontrovertible that Jenkins was tipped off that members of the GTTF were

under investigation by an ASA. Further, it was Judge Blake, not AUSA Wise, that confirmed

with Jenkins during his guilty plea hearing that he had “learned about the existence of this federal

investigation and shared this information with others.” In fact, at no point during Jenkins’ guilty

plea hearing did AUSA Wise say anything about whether Jenkins had been tipped off by a member

of the State’s Attorney’s Office, as the Defendant inaccurately claims in her Motion to Dismiss.

This factual misstatement to the Court is particularly striking because the transcript of Jenkins’

plea agreement is available on the public docket and could have been reviewed by Defense Counsel

which would have revealed that their assertions are erroneous.

       What Jenkins admitted to at his guilty plea hearing confirmed what federal investigators

already knew. In late summer 2016, the FBI installed a recording device in a BPD vehicle driven

by Momodu Gondo, another member of the GTTF who was a co-conspirator of Jenkins and who

was ultimately charged and pled guilty. On October 5, 2016, the FBI recorded a conversation

between Gondo and a third member of the GTTF who was also charged and pled guilty, Jemell

Rayam. In that conversation, Gondo and Rayam discussed how Jenkins had told them that an ASA

had told him they were under investigation. After hearing that recording, a 17 minute phone call




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was identified on toll records for Jenkins’ phone between Jenkins and an ASA, which corroborated

the discussion that Gondo and Rayam had about Jenkins being tipped off by an ASA.

       After Jenkins and the other GTTF defendants were arrested on March 1, 2017, the

Government proffered the fact that they had been tipped off by an ASA that members of the GTTF

were under investigation in detention hearings for each defendant, including Jenkins. For example,

in the detention hearing for Marcus Taylor, AUSA Derek Hines, AUSA Wise’s co-counsel in the

GTTF case told the Court that, “Members of the conspiracy have also received information from

other BPD officers, and even an Assistant State’s attorney during the course of the investigation.”

United States v. Jenkins, et al., Cr. No. 17-106, transcript of April 20, 2017, detention hearing at

12:21-23 (Exhibit 7). Based on this information, and additional information, then-Magistrate

Judge Gallagher ordered Taylor, and all the other GTTF defendants, detained. Taylor sought

review of the order of detention before Chief United States District Court Judge James K. Bredar,

who was presiding over the case at the time, and Chief Judge Bredar ordered Taylor detained.

Ultimately Taylor even appealed his detention to the United States Court of Appeals for the Fourth

Circuit which affirmed the orders of detention.

       All of these facts had been provided to the Defendant in a letter signed by then-Acting

United States Attorney Stephen Schenning in February 2018. A copy of that letter, which has been

redacted to remove the names of individuals who have not been publicly identified in the GTTF

case, is attached. See Letter from Acting U.S. Attorney Schenning to Marilyn Mosby, February

15, 2018 (Exhibit 4).

       The Defendant’s account of a meeting with AUSA Wise concerning these facts is also

inaccurate. At some point after the detention hearings in this case, AUSA Wise was asked to join

a meeting, in progress, between the Defendant and Mr. Schenning without any advance notice. As



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a result, AUSA did not have documents related to the tip-off with him. Instead, the evidence of

the tip-off was provided in detail in the February 15, 2018, letter from then Acting U.S. Attorney

Schenning, as reflected in the letter the Defendant’s own lawyer wrote to the ASA, after she was

fired. See Letter from Acting U.S. Attorney Schenning to Marilyn Mosby, February 15, 2018

(Exhibit 4) and Letter from James W. Webster, April 20, 2018 (Exhibit 3).

       In sum, AUSAs Wise and Schenning never engaged in a “smear campaign to falsely accuse

State’s Attorney Mosby and her staff of improperly leaking the federal GTTF investigation” to

Wayne Jenkins, the “lead suspect in the police corruption scandal.”         Mot. to Dismiss at 4.

(emphasis added).    AUSA Wise and his co-counsel AUSA Derek Hines, not Mr. Schenning,

proffered facts to the court that the GTTF defendants had been tipped off by an ASA, because they

had been tipped off and the fact that they had been tipped off was relevant to the detention

determination before this court. The recording from the bug in Gondo’s BPD vehicle proved they

had been tipped off, as did the toll records of a 17 minute call between Jenkins and an ASA

immediately preceding that recording. Finally, Jenkins ultimately admitted, under oath before

Judge Blake, that he had been tipped off by an ASA.

       In light of all the facts summarized above, it unclear why the Defendant appears to argue

now that an ASA did not tip off Jenkins that members of the GTTF were under investigation. It

also strains logic to equate providing this information about an ASA to this court in a detention

hearing to harboring “animus” towards the Defendant, particularly when the Government never

proffered that the Defendant was involved in the leak to Jenkins or even that she knew about it.




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               2. AUSA Wise Did Not Endeavor to Upend the 2018 State’s Attorney’s Election
                  by Donating $200; He Made Three Solicited $100 Contributions in the 2018
                  Election Cycle to Individuals With Whom He Had Professional Relationships

       The Defendant’s next baseless accusation is that “Mr. Wise was evidently embarrassed by

that encounter,” referring to the unscheduled meeting that the Defendant inaccurately described

related to the ASA who tipped off Jenkins, and that it “appears to have directly led to his own

personal efforts to undermine State’s Attorney Mosby’s re-election.” Mot. to Dismiss at 5. The

“personal efforts to undermine State’s Attorney Mosby’s re-election,” consist of two $100

donations to other candidates in the Democratic primary for Baltimore City State’s Attorney, one

in January 2018 to Thiru Vignarajah and one in June 2018 to Ivan Bates. This sequence of events

and what prompted these donations is an invention of the Defendant.

       The two donations AUSA Wise made were solicited by individuals with whom AUSA

Wise had prior professional relationships and as they describe, they made decisions on the timing

of those solicitations. See Declaration of Thiru Vignarajah (Exhibit 8) and Declaration of Ivan J.

Bates (Exhibit 9). Contrary to the Defendant’s claims, the timing of both donations had nothing

to do with the brief, impromptu meeting that the Defendant inaccurately describes in her motion.




                               [this space intentionally left blank]




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In his declaration, Mr. Vignarjah describes the circumstances and timing of his solicitation this

way:




See Declaration of Thiru Vignarajah (Exhibit 8). In his declaration, Mr. Bates describes the

circumstances and timing of his solicitation in this way:




Declaration of Ivan J. Bates (Exhibit 9). Mr. Bates also states in his declaration that, “My

professional association with Mr. Wise stems from the numerous cases I have handled in the

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federal system wherein Mr. Wise served as the prosecuting attorney, and I served as defense

counsel, including matters leading to Mr. Wise’s prosecution of the Gun Trace Task Force

(“GTTF”). Id. at n. 6.

       The Defendant’s theory of how AUSA Wise set out to “undermine State’s Attorney

Mosby’s re-election,” by making two $100 donations is laughable. It gets even more fantastical

when she claims, “His contributions were unsuccessful, as State’s Attorney Mosby was victorious

in her election, and he now seeks to do through the DOJ what he could not do through the ballot

box—remove State’s Attorney Mosby from Office.” Mot. to Dismiss at 14. Lacking either facts

or even a plausible theory, the claim of “political animus” on the part of AUSA Wise fails.

       It is also worth noting that on January 2, 2018, eight days before AUSA Wise made a

solicited donation to Mr. Vignarajah, Mr. Wise made a solicitated donation to another former

colleague of his, Paul Pelletier. Mr. Pelletier had worked with AUSA Wise in the Fraud Section

of the United States Department of Justice and was running for Congress in the Democratic

primary for Virginia’s 10th Congressional district. Mr. Pelletier asked AUSA Wise for a donation

and AUSA Wise donated $100 via his credit card. See Credit Card Statement (Exhibit 10).

       In sum, in the 2018 election cycle, AUSA Wise made three solicited donations of $100

each to candidates with whom he had prior professional relationships. These donations are in no

way evidence of “political animus” against the Defendant.

               3. The Defendant Offers No Facts that Support Her Claims of Selective
                  Prosecution

       The Defendant offers no facts whatsoever in support of her meritless claim that this is a

selective prosecution based on her race. As summarized above, the law requires a defendant

making a selective prosecution claim to “‘establish both (1) that similarly situated individuals of a

different race were not prosecuted, and (2) that the decision to prosecute was invidious or in bad

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faith.’” Venable, 666 F.3d at 465 quoting United States v. Olvis, 97 F.3d 739, 743 (4th Cir.1996).

The Defendant does not even address the first requirement of Venable that she establish that

“similarly situated individuals of a different race were not prosecuted.” The Motion to Dismiss

never mentions another individual who was not prosecuted under circumstances similar to the

Defendant. Nor can she because such evidence does not exist.

       In place of facts, the Defendant misquotes two news articles to support her baseless claims

of racial animus. These articles date from 2008-2010 when AUSA Wise wasn’t even a federal

prosecutor. At that time he worked for Office of Congressional Ethics (OCE) in the U.S. House

of Representatives. First, the Defendant claims, “as far back as 2008, when AUSA Wise was the

head of the Office of Congressional Ethics, the Congressional Black Caucus complained about the

office’s behavior under his leadership.” Mot. to Dismiss at 5. In support of this claim, the

Defendant cites an article that appeared in Politico on August 1, 2010, concerning the House Ethics

Committee’s decision to file ethics charges against former Representative Charles Rangel and

Representative Maxine Waters. See Jonathan Allen and John Bresnahan, Ethics Cases Raise

Racial Questions, POLITICO, August 1, 2010 (Exhibit 11. The Defendant asserts in her motion that

“At one point during AUSA Wise’s tenure, all eight lawmakers under formal investigation by the

House Ethics Committee were Black Democrats, including Representatives Maxine Waters and

Charles Rangel.” Mot. to Dismiss at 5. This statement misquotes the Politico story. What the

Politico story actually says is that “At one point earlier this year, all eight lawmakers under formal

investigation by the House Ethics Committee, including Rangel and Waters, were black

Democrats.” (emphasis added). Id. In her motion, the Defendant has grafted a reference to AUSA

Wise onto that sentence, which is otherwise a verbatim quote from the Politico story. This is either

a deliberate misrepresentation or the Defendant fails to understand that the OCE and the House



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Ethics Committee are distinct entities, independent of one another. The Politico story doesn’t

mention AUSA Wise because AUSA Wise never worked for the House Ethics Committee. The

House Ethics Committee made the decision to pursue those eight cases, not AUSA Wise and not

the OCE and the criticism described in the article was leveled at the House Ethics Committee, not

AUSA Wise or the OCE. While the next line in the Politico story says that the eight investigations

being pursued by the House Ethics Committee originated with the OCE, the OCE pursued dozens

of investigations in the two years that AUSA Wise worked they were not investigations solely of

Black Democrats.

       Furthermore, the Defendant is wrong when she asserts that AUSA Wise was the “head” of

the OCE. AUSA Wise was the Staff Director and Chief Counsel to the OCE’s Board. The OCE

is governed by a Board appointed by the Speaker of the House and the Minority Leader. The Chair

of the Board is the “head” of the OCE. Furthermore, only the OCE’s Board, and not its staff can

initiate investigations. See H. R. 495 of the 110th Congress (Exhibit 12). In 2008, former Colorado

Congressman David Skaggs, a member of the Democratic Party, was the OCE’s Chair. The Board

itself was a diverse and distinguished group of former lawmakers and public servants from both

parties, including Yvonne Burke, the first African American woman elected to Congress from

California, Porter Goss, the former Director of the Central Intelligence Agency, Abner Mikva, the

former Chief Judge of the United States Court of Appeals for the D.C. Circuit, and others. See

Report and Findings in Review No. 09-2121 (listing OCE Board) (Exhibit 13). During the time

that AUSA Wise worked for the OCE, every single decision to initiate an investigation into a

member of Congress was made unanimously by the OCE Board.

       The Defendant next falsely asserts that “After AUSA Wise’s resignation, questions were

raised about his alleged targeting of Black elected officials,” and, in support of that false claim,



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the Defendant cites an article that appeared in Time magazine when AUSA Wise left the OCE to

return to the U.S. Department of Justice. Mot. to Dismiss at 5. Just as with the Politico article,

the Defendant confuses the OCE with the House Ethics Committee in making this claim. See Jay

Newton Small, Leo Wise Resigns, TIME, October 15, 2020 (Exhibit 14). In a footnote she included

the following quote from the Time magazine article: “The Standards Committee has had an uneven

record in deciding what cases it’ll pursue and those it drops. The stilted approach had led to

accusations of racism – most of the cases they’ve pursued have been against Congressional Black

Caucus members.” Mot. to Dismiss at 5, n. 2 (emphasis added). As the text the Defendant quoted

makes clear, the criticism in the Time magazine article was of the Standards Committee, which

was the formal name of the House Ethics Committee at that time, and not the OCE. Again, AUSA

Wise worked for the OCE and not the Standards Committee.

       In any event, neither of these decade-old articles are evidence of racial animus. And the

Defendant provides no such evidence because there is none. The only relevance these articles

have to the present baseless accusations the Defendant has leveled against AUSAs Wise and

Schenning is that they demonstrate that when politicians are under investigation, they sometimes

attack the individuals and agencies who are conducting the investigations. This is done to de-

legitimize any inquiry into their behavior.

       Furthermore, the partial and incomplete list of defendants that AUSA Wise has prosecuted

during his 17 years with the Department of Justice that the Defendant included in their motion is

not evidence of racial animus. State Delegate Cheryl Glenn, Former Baltimore Mayor Catherine

Pugh, Former Baltimore Police Commissioner Darryl DeSousa and State Senator Nathaniel Oaks

all pled guilty and “Prominent Attorney Ken Ravenell” was convicted by a jury after trial. In none




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of these cases was there any evidence that the defendants were prosecuted because of their race,

because they weren’t.

              4. The Defendant’s Claim About U.S. Attorney Erek Barron Are Irrelevant and
                 the Source of them is Unreliable

       The Defendant and her lawyer, A. Scott Bolden, have been personally attacking AUSAs

Wise and Schenning in various public fora since March 2021, making many of the same meritless

claims they include in the Motion to Dismiss. The appointment and confirmation of United States

Attorney Erek Barron obviously scrambled the Defendant’s false assertion that she is being

prosecuted because she is a progressive Black Democrat. The Defendant now attempts to discredit

the U.S. Attorney with private comments she claims he made about her to a third party several

years ago, which the person he supposedly said them to cannot even really remember. Mot. to

Dismiss at 17. Specifically, the Defendant claims that the U.S. Attorney has a “negative history”

with her, whatever that means, and the Defendant claims that U.S. Attorney Barron “commented

negatively on Ms. Mosby’s style and approach to work,” and “repeated disparaging rumors

alleging marital infidelity,” before he became U.S. Attorney. The Defendant claims the source of

these comments is Sheaniqua A. Thompson, a former lobbyist in Annapolis.             Exhibit E to

Defendant’s Motion to Dismiss (ECF 17-5).

       At the outset, the Government notes that, consistent with their approach to the facts in the

rest of their Motion, the Defendant’s description of the Thompson declaration is not accurate.

While the Defendant claims that the U.S. Attorney “repeated disparaging rumors alleging marital

infidelity,” to Ms. Thompson, that is not what the Thompson Declaration says. All the Declaration

says is that the U.S. Attorney “discuss[ed] rumors about State’s Attorney Mosby’s sex life.” The

Declaration does not say that the U.S. Attorney discussed “rumors alleging marital infidelity” or

that he disparaged the Defendant in any way.

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       Assuming for the sake of argument that the representations of Ms. Thompson’s comments

are even accurate, they are wholly irrelevant. A negative opinion of a defendant’s “style and

approach to work” or even their marital fidelity in no logical way relates to claims that someone

was prosecuted because they exercised some legal right, which is the standard for claims of

vindictive prosecution. Goodwin, 457 U.S. at 372. Similarly, someone’s “style and approach to

work” and their marital fidelity in no way relates to whether similarly-situated individuals of a

different race were not prosecuted, which is the standard for claims of selective prosecution.

Venable, 666 F.3d at 465 quoting United States v. Olvis, 97 F.3d 739, 743 (4th Cir.1996). Thus,

they have no bearing on the issues before the Court.

       Further, Ms. Thompson’s declaration is unreliable and should be disregarded. According

to public reports, corroborated by data provided by the City of Baltimore on municipal employees,

Ms. Thompson is the “$115,000-a-year director of legislative affairs for City Council President

Nick Mosby,” the Defendant’s husband, the Baltimore City Council President. See Fern Shen and

Mark Reutter, “Marilyn Mosby says her husband’s tax decisions and lies placed her in legal

jeopardy,”    THE     BALTIMORE      BREW,      February     21,    2022     (Exhibit    20)    and

https://www.google.com/search?q=baltimorie+city+salaries. That fact was not disclosed in the

Declaration and, given that it goes to Ms. Thompson’s bias, it certainly should have been. Further,

statements in the Declaration itself conflict with one another. Specifically, the Declaration

purports to quote the U.S. Attorney, putting statements in quotation marks, but then states that the

Declarant’s “recollection of this comment is not precisely verbatim,” and is only an

“approximation.”    Id. at ¶ 5.   The Declaration also refers to the U.S. Attorney as “then-

assemblyman Erek Barron.” In Maryland, members of the House of Delegates are referred to as

Delegates, not “assemblymen,” or assemblywomen.” This suggests the declaration was written



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by the Defendant’s Washington, D.C., based lawyers, and not even closely reviewed by Ms.

Thompson, who, as a former lobbyist, would have known that.

                    5. The Defendant’s Claim that the Federal Grand Jury Investigation Began with
                       a Referral from Bar Counsel is False; It Began Before Bar Counsel’s
                       Independent Inquiry

         The Defendant in her Motion to Dismiss next makes a series of personal attacks on the

Maryland Bar Counsel, Lydia Lawless, as part of a larger and wholly inaccurate account of the

investigation in this matter.           Mot. to Dismiss at 7. The Defendant claims, again without any

factual support, that she has been the victim of “incessant harassment,” by Ms. Lawless. Id. The

Defendant then wrongly represents to the Court that “on April 30, 2021, AUSA Wise indicated in

an email to counsel in the instant matter that Ms. Lawless had referred the State Bar inquiry to

AUSA Wise’s office after State’s Attorney Mosby declined to comply with Ms. Lawless’

overboard request that she turn over substantiation of her deductions dating back seven years.” Id.

In support of this inaccurate claim, the Defendant cites an email from AUSA Wise to the Defendant

dated April 30, 2021. Id. citing Exhibit H to Def. Mot. to Dismiss. Nowhere in the April 30, 2021,

email does AUSA Wise say that the federal investigation arose from a referral from Bar Counsel

because it did not. 5


         5
             Below is the full text of the email:

Mr. Bolden,

Your summary and characterizations of our conversations with Mr. Qureshi are not accurate. We say that not to
begin a debate with you about those two phone calls, but to make it clear that we do not agree with what you have
written about them.

Our response to your question is the same as the one we gave Mr. Qureshi: we cannot disclose the information you
request related to the Grand Jury because of the restrictions placed on us by Federal Rule of Criminal Procedure
6(e). Your specific request that we “provide us further information about the focus of the investigation – without
revealing secret grand jury materials –“ (emphasis added) inverts the law on what is and isn’t covered by Rule 6(e).
As the D.C. Circuit explained in Senate of the Commonwealth of Puerto Rico on Behalf of Judiciary Committee. v.
United States Department of Justice:



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         As the April 30, 2021, email clearly articulates, Federal Rule of Criminal Procedure 6(e)

prohibited the Government from identifying the “focus” of the Grand Jury investigation,

something the Defendant repeatedly asked the Government to do. In response to these questions,

the Government pointed the Defendant to the Bar Counsel’s inquiry because it raised numerous

questions about items on the Defendant’s tax returns and Bar Counsel’s investigation, unlike a

federal grand jury investigation, is not covered by Rule 6(e). Defense Counsel then weaponized

this attempt to constructively engage with them by the Government and spun it into a false

narrative that the federal grand jury investigation arose from a referral from Bar Counsel, which is

not true.




         There is no per se rule against disclosure of any and all information which has reached the grand
         jury chambers; as the district court correctly observed, the touchstone is whether disclosure would
         “tend to reveal some secret aspect of the grand jury's investigation” such matters as “ ‘the
         identities of witnesses or jurors, the substance of testimony, the strategy or direction of the
         investigation, the deliberations or questions of jurors, and the like.’ ” The disclosure of
         information “coincidentally before the grand jury [which can] be revealed in such a manner that its
         revelation would not elucidate the inner workings of the grand jury” is not prohibited.

823 F.2d 574, 582 (D.C. Cir. 1987) (emphasis added).

As a professional courtesy, we reiterate that the Bar Counsel’s investigation raised numerous questions related to
your client’s taxes. See e.g., Letter to William Brennan dated November 30, 2020. We are able to reference the Bar
Counsel’s investigation because it is not covered by Rule 6(e). We also observe that in federal criminal tax
investigations, subjects of the investigation, like your client, often retain counsel with expertise in criminal tax law
to review their returns and identify likely issues for criminal enforcement.

You are under no obligation to provide any information beyond what was called for in the grand jury subpoena.
However, as we told Mr. Qureshi, we will review any information you choose to voluntarily provide us.

Sincerely,
Leo J. Wise
Assistant United States Attorney
Chief, Fraud and Public Corruption Section
United States Attorney’s Office for the District of Maryland
36 South Charles Street
Baltimore, MD 21201




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       To be clear, by the Defendant’s own account, the Bar Counsel’s investigation began no

earlier than October 13, 2020. See Mot. to Dismiss at 7.6 By contrast, the Grand Jury began

investigating the Defendant prior to that date. The Defendant has been provided in discovery with

certifications pursuant to Federal Rules of Evidence 803(6) and 902(1), also referred to as business

records certifications, that are dated prior to October 13, 2020. See, e.g., Exhibit 15 (certification

from Municipal Employee’s Credit Union dated September 2, 2020). Therefore, the Defendant’s

claim that “Instead of referring this matter to the IRS for a civil audit which would have been the

normal course of action in this scenario, Ms. Lawless’ referral resulted in the opening of a criminal

tax grand jury investigation, where there had been no evidence of wrongdoing on the part of State’s

Attorney Mosby,” is false. Mot. to Dismiss at 8. Similarly, the fact that the federal grand jury

investigation began before Bar Counsel’s investigation means that the Defendant’s claim that “The

irregular manner in which this referral was made instead of initiating a civil audit demonstrates

how Ms. Lawless and AUSA Wise conspired together to effectuate their mutual goal of damaging

State’s Attorney Mosby’s reputation,” is also false. The claim that AUSA Wise and Ms. Lawless

“conspired together to effectuate their mutual goal of damaging State’s Attorney Mosby’s




       6
           The Defendant writes in her motion that:

       In [sic.] October 13, 2020, Ms. Lawless became aware of a tax lien placed against
       State’s Attorney Mosby and her husband after an article discussing the tax lien
       was published by the Baltimore Sun. Ms. Lawless, who at the time was
       investigating a six year old unfounded complaint against States’s Attorney
       Mosby, dismissed this initial investigation and immediately opened another
       investigation into State’s Attorney Mosby’s taxes. Pursuant to that investigation,
       Ms. Lawless made requests for State’s Attorney Mosby to turn over her tax
       returns for 2014 to 2019.
Def. Mot. to Dismiss at 7.
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reputation,” is patently absurd. The alleged “conspiracy” to do so is a fiction invented by the

Defendant.

       Relatedly, the Defendant’s claim that “While AUSA Wise initially elected to use the Grand

Jury process to conduct inquiries into otherwise routine civil IRS audit matters, State’s Attorney

[sic.] was ultimately not charged with any criminal tax violations,” is factually inaccurate in

multiple ways. Mot. to Dismiss at 9-10. First, the federal grand jury investigation was not limited

to tax matters, as the charges in the Superseding Indictment demonstrate. Second, the Defendant’s

unsupported assertion that this investigation should have been a civil tax audit is contradicted by

the fact that Tax Division of the U.S. Department of Justice authorized the U.S. Attorney’s Office

to conduct a criminal grand jury investigation, as the Defendant knows. See Email from Melissa

S. Siskind to A. Scott Bolden, August 18, 2021 (Exhibit 16). The email states, “The Tax Division

is in receipt of your letter dated April 2, 2021, requesting a conference in this matter in the event

the IRS referred your client for criminal prosecution. The Tax Division has received a referral

from the IRS, and therefore I am writing to schedule the taxpayer conference.” Id. (emphasis

added). Therefore, the Defendant’s repeated assertions that there should have been a civil audit of

their client rather than a criminal investigation is wrong. If that were the case, then the Tax

Division would not have authorized a criminal investigation.

               6. The Defendant’s Claim that the FBI and IRS Interrupted a Meeting at City Hall
                  to Interview the Defendant’s Husband is False; the Agents Waited for 65
                  Minutes Until a Board of Estimates Meeting Ended and Then Interviewed the
                  Defendant’s Husband in Private

       In their fictional account of the progress off this investigation, the Defendant make another

demonstrably false factual assertion. In a footnote they claim:

       On that same day, March 10, 2021, the FBI went to Baltimore’s City Hall in the
       middle of a public City Council meeting that State’s Attorney Mosby’s husband,
       Nick Mosby, was participating in to interview Mr. Mosby. Rather than conduct this

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       interview in a private setting, the FBI intentionally disrupted a public meeting
       pointing towards the Government’s intention to publicly shame State’s Attorney
       Mosby.

Mot. to Dismiss, n. 3. The FBI and IRS agents that interviewed the Defendant’s husband did not

“disrupt[] a public meeting.” To avoid any future misrepresentations about what occurred during

this interview, the FBI recorded the entire encounter. The recording has been produced to the

Defendant in discovery and can be provided to the Court if the Court wishes to view it. The

recording device was turned on before the agents entered City Hall and remained on until after the

interview ended. The recording shows that the FBI and IRS agent who interviewed Nick Mosby

waited for 65 minutes in his office until a meeting of the Board of Estimates ended. They then

interviewed him in private, in his office. The agents were dressed in business suits and nothing

about their appearance or conduct indicated they were law enforcement. Thus the claim that their

interview was designed to “shame State’s Attorney Mosby,” is wholly unfounded. Furthermore,

there was no public reporting of the FBI and IRS’s presence at City Hall on March 10, 2021, when

the interview occurred, so the agent’s presence was not detected.

               7. The Defendant’s Claim that the Government Refused to Meet with Them Are
                  False; the Government Met with Counsel for the Defendant on September 10,
                  2021

       The Defendant repeatedly and falsely claims that the Government refused to meet with her

counsel. See Mot. to Dismiss at 9 (“Counsel asked for the opportunity to meet to present

exculpatory evidence, which the Government never granted … The USAO would go on to

repeatedly refuse to have a formal meeting with counsel for State’s Attorney Mosby to discuss the

potential criminal tax charges against her.”).

       The Government met with counsel for the Defendant on September 10, 2021, along with

lawyers from the Tax Division of the U.S. Department of Justice. See Email from Melissa Siskind



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to A. Scott Bolden, August 18, 2021 (Exhibit 16). Counsel for the Defendant was told when they

requested a taxpayer conference that the United States Attorney’s Office would also participate in

the conference. Id. (“The conference will occur via WebEx and will be attended by myself,

another attorney from the Tax Division, and one or more of the AUSAs assigned to this

investigation”) (emphasis added). Not only did all undersigned counsel attend, but they were

joined by AUSA Stephen Schenning, who was the Acting U.S. Attorney on this case, and Michael

Hanlon, the Criminal Chief of the U.S. Attorney’s Office for the District of Maryland. See WebEx

invite from Melissa Siskind for September 10, 2021, taxpayer conference (Exhibit 17). Further,

attached is an email from Defense Counsel dated September 15, 2021, acknowledging that the

Government, including the USAO and the Tax Division, had met with the Defendant on September

15, 2021. See Email from A. Scott Bolden dated September 15, 2021 (Exhibit 18).




                               [this space intentionally left blank]




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See Email from Melissa Siskind to A. Scott Bolden, August 23, 2021 (Exhibit 16). Thus the

Defendant’s claims that “The USAO would go on to repeatedly refuse to have a formal meeting

with counsel for State’s Attorney Mosby to discuss the potential criminal tax charges against her,”

are demonstrably false.

               8. The Defendant’s Claim that the She Asked to Testify Before the Grand Jury and
                  was “Precluded” from Doing So is False

       The Defendant falsely claims that she was “precluded” from testifying before the Grand

Jury. In making this claim, she contorts the meaning of words to hide the fact that she never

actually requested to testify in the grand jury. The first time the topic was ever raised was during

the taxpayer conference that included the Defendant’s counsel and prosecutors from the Tax


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Division of the U.S. Department of Justice and the U.S. Attorney’s Office on September 10, 2021.

At the end of that meeting, Defense Counsel asked whether the Government would give the

Defendant a “Queen for a Day” letter if she wished to proffer with the FBI. A “Queen for a Day”

letter grants limited use immunity and provides that incriminating statements made by a witness

will not be used directly against them. Defense Counsel also said at the end of the taxpayer

conference that the Defendant was considering requesting the opportunity to testify before the

grand jury or words to that effect. To be clear, at no point during or after the taxpayer conference

did the Defendant or her counsel actually request that the Defendant be given the opportunity to

testify before the grand jury.

       In his emails and now in the Motion to Dismiss, Defense Counsel played word games. In

the Motion to Dismiss, the Defendant claims, “there is no dispute that counsel for State’s Attorney

Mosby made the offer to have her testify on more than once occasions, and at least once in

writing.” Mot. to Dismiss at 9. Defense Counsel never made such an offer. The one time when

issue came up in writing, according to the Defendant, was an email from Defense Counsel where

he said the opposite—that it was his decision whether the Defendant wanted to testify and not the

Government’s. See Exhibit L to Mot. to Dismiss. Specifically, Defense Counsel wrote, “Also,

whether to seek [Marilyn Mosby] going into the grand jury is the defense call—not the

prosecutions call re our defense strategy. Doubt as you will, but her appearance should be

considered a real possibility.” Id. The second sentence is as far as Defense Counsel ever went,

dancing around the topic of the Defendant testifying without ever actually asking that the

Defendant be given the opportunity to testify. And a “possibility” that the Defendant would ask

to testify is decidedly not the same thing as a request to testify.




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       Defense Counsel played similar word games in an email dated January 12, 2022. See

Exhibit 19. In that email he wrote, “To date, and after several requests with no response, your

office and the prosecutors assigned to this matter have not confirmed that Ms. Mosby would be

permitted to appear before the grand jury.” Id. (emphasis added). That was also not a request to

have her testify and the letter has it backwards. If the target of a grand jury asks to testify before

the grand jury, federal prosecutors consider the request and ultimately decide whether to grant it

or not. Here that never occurred. The Government does not need to confirm to a defendant that

they would be “permitted to appear,” if they decided to do so. If the Defendant had wanted to

testify before the grand jury, there would be a letter or an email where her counsel plainly and

unambiguously made that request. The Defendant has not submitted such a document because

none exists.

       “Further, an accused has no right to be called as a witness before the grand jury that is

considering his or her indictment and he or she has “no right of cross-examination, or of

introducing evidence to rebut the prosecutor's presentation.” United States v. Leverage Funding

Sys., Inc., 637 F.2d 645, 648 (9th Cir. 1980) (internal citations omitted); United States v. Gardner,

516 F.2d 334, 339 (7th Cir. 1975) cert. denied, 423 U.S. 861 (1976) (“the defendant has no

absolute right to appear before the grand jury”); United States ex rel. McCann v. Thompson, 144

F.2d 604, 605-606 (2d Cir.), cert. denied 323 U.S. 790 (1944); United States v. Kernodle, 367

F.Supp. 844, 854 (M.D.N.C.1973). Thus, even if the Defendant had made such a request, the

Government could decline to call her to testify and doing so does not rise to any inference of

animus.




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                  9. The Defendant’s Claim that “the Tax Investigation” was a “Nonstarter” is
                     False

        The Defendant next falsely claims that “the tax investigation was a nonstarter.” Def. Mot.

at 16. The Defendant fails to explain why that fact, even if true, supports their claims of vindictive

prosecution. In any event, the Supreme Court has foreclosed their argument that vindictiveness

can be inferred from the selection of charges as a matter of law. In Armstrong, the Supreme Court

held,

        In the ordinary case, so long as the prosecutor has probable cause to believe that
        the accused committed an offense defined by statute, the decision whether or not to
        prosecute, and what charge to file or bring before a grand jury, generally rests
        entirely in his discretion.

666 F.3d 893, 900–01 (4th Cir. 2012), as amended (Feb. 15, 2012). Thus, the Defendant’s

argument that the Court should divine some ill-motive from the fact that the Government did not

bring tax charges in this case in addition to the charges it did bring should be disregarded.

        As a factual matter, their assertion that the tax investigation was a “non-starter” also ignores

the fact that the Baltimore City Deferred compensation retirement account that the Defendant

improperly accessed exists because it is part of the Internal Revenue Code. Furthermore, two of

the false statements the Defendant made in each of the mortgage applications related to tax debt

and a tax lien.

        Oddly, the Defendant takes issue with the fact that the Defendant was notified that tax

evasion charges were also being considered against her, in addition to perjury and false mortgage

application charges, and the Defendant has not been charged with tax evasion. The fact that the

Government considered tax evasion charges but elected not to bring them doesn’t support the

Defendant’s meritless claims of vindictive prosecution, it undercuts them completely. If this was

a vindictive prosecution, the Government would have charged the Defendant with evasion.



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       The Defendant also misunderstands the seriousness of the charges returned by the Grand

Jury in comparison with potential tax evasion charges. The Defendant refers to the charges in the

Superseding Indictment as “watered down,” compared to tax evasion. Mot. to Dismiss at 16. It is

just the opposite. The sentencing guidelines for the perjury charges are far greater than the

sentencing guidelines would have been for tax evasion charges.

               10. The Defendant’s Claim that the Government Excluded Exculpatory Evidence
                   from the Grand Jury are False

       The Defendant next accuses the Government, without any factual support, of withholding

exculpatory evidence from the Grand Jury. Mot. to Dismiss at 11. The Defendant obviously has

no idea what occurred before the Grand Jury because it is a secret proceeding. Unconstrained by

the facts, her counsel nonetheless make the claim that they know certain information was not

presented. They cite a declaration from a single witness, Carlton Saunders in support of this

assertion. See Exhibit M to Defense Motion to Dismiss (Declaration of Carlton Saunders). Mr.

Saunders has no way of knowing what was presented to the grand jury which met for over a year

before indicting the Defendant and his declaration does not establish that the documents he claims

to have submitted to the Government were not presented to the grand jury.

       Importantly, the Defendant never explains how whatever information Mr. Saunders claims

he provided to the Government could be exculpatory to the charges she faces. And it could not be

based on the subject matter it pertains to and its age. Saunders states in his declaration that he was

her campaign treasurer “until approximately 2018.” Id. Saunders further states that he produced

documents “regarding certain alleged campaign finance irregularities,” in response to a subpoena

and that he was also subpoenaed to testify before the grand jury. Id. He further declares that “As

I understood it, the basis of the subpoena was to inquire about an $11,000 check that the State’s

Attorney had written to herself from the campaign account.” Id. The Defendant was charged with

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committing perjury and submitting false mortgage applications in 2020 and 2021, in other words,

for conduct that occurred more than 2 years after the time when Mr. Saunders ceased to be her

campaign treasurer in 2018. Further, the Defendant was not charged with campaign finance

violations. Therefore, nothing Mr. Saunders submitted or said could be exculpatory to the charges

the Defendant actually faces.

               11. The Defendant Has Presented No Evidence that the Timing of the Indictment
                   Was Designed to Affect Her Election

       The Defendant claims, “[p]erhaps the clearest determination of the animus at issue in this

case is the timing of the Indictment filed against State’s Attorney Mosby.” Mot. to Dismiss at 17.

To the contrary, this argument reveals how utterly baseless the Defendant’s accusations are. The

Defendant offers no evidence that the timing of the Indictment has anything whatsoever to do with

the Democratic primary in June 2022. The only facts the Defendant can point to are that the

Defendant was indicted by the grand jury in January 2022 and she apparently intends to seek re-

election later the same year. To be clear, there is no Department of Justice policy against bringing

charges in the same year as an election. There is no blackout period when charges cannot or should

not be brought. To the contrary, the policy that the Defendant cites, the Election Year Sensitivities

Memorandum issued in 2016 by then Attorney General Lynch, makes clear that the timing of

charging decisions should be made without reference to elections. See 2016 Election Year

Sensitives Memorandum at 1 (Exhibit 21) (“Law enforcement officers or prosecutors may never

select the timing of investigative steps or criminal charges for the purpose of affecting any election,

or for the purpose of giving an advantage or disadvantage to any candidate or political party). The

Defendant offers no evidence that, consistent with that policy, the timing of the charges in this

case do not reflect the pace of the FBI and IRS investigation and internal deliberations within the

United States Department of Justice. And there is no such evidence

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   III.      THE DEFENDANT’S MOTON TO DISQUALIFY AUSA WISE REPEATS THE
             SAME PERSONAL ATTACKS AS THE MOTION TO DISMISS AND MAKES
             THE SAME INACCURATE FACTUAL REPRESENTATIONS; IT IS
             THEREFORE MERITLESS AND SHOULD BE DENIED

          The Defendant asks this Court to “disqualify Assistant United States Attorney Leo Wise

(“Mr. Wise”) from acting as counsel for the Government in this matter.” See Mot. to Disqualify.

This motion is a rehash of the Motion to Dismiss. The only basis for disqualification that the

Defendant cites are the same meritless claims of “personal and political and even racial animus,”

that she made in her Motion to Dismiss. And the Defendant relies on the same factually inaccurate

assertions she made in her Motion to Dismiss to try to justify her personal attacks on AUSA Wise

in this motion. The Defendant’s motion is meritless and should be denied.

          The Defendant fails to cite a single case where a court removed a federal prosecutor on the

basis of the claims, untrue as they are, that the Defendant makes. And there isn’t one. Nor does

the Defendant cite any statutory authority for the court to do so because there is none.

          The Defendant claims that AUSA Wise has violated the Maryland Rules of Professional

Conduct. He has not.

          The Defendant claims AUSA Wise has “engaged in conduct that has prejudiced the

administration of justice as it pertains to State’s Attorney Mosby,” in violation of Maryland Rule

8.4. Mot. to Disqualify at 3. The conduct that the Defendant claims violated the rule are the same

false claims she made in her Motion to Dismiss. First, she asserts that AUSA Wise “falsely

accused her and her office, on the record, of leaking information regarding the GTTF

investigation.” Id.      As described in the Government’s response to the Defendant’s meritless

Motion to Dismiss, AUSA Wise proffered accurate information to the court that an ASA had, in

fact, tipped off the lead defendant in the GTTF case that members of the GTTF were under

investigation. See discussion supra Section II(B)(1). His proffer was supported by a recorded

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conversation between two GTTF defendants and toll records showing a 17 minute call between

the ASA and Jenkins immediately preceding the recording. Id. Ultimately, Jenkins admitted he

had been tipped off by the ASA as part of his guilty plea. Id. And the Defendant fired the ASA

for this conduct. Id.

        The Defendant also falsely claims that AUSA “instructed the FBI to publically serve a

Grand Jury subpoena on State’s Attorney Mosby’s husband in the middle of a Baltimore City

Council meeting, ensuring that the media would learn about the subpoena.” Mot. to Disqualify at

3. As described in the Government’s response to the Motion to Dismiss, the FBI did not serve Mr.

Mosby with a subpoena “in the middle of a Baltimore City Council meeting.” See discussion

supra Section II(B)(6). As the recording from the interview makes clear, the FBI and IRS agents

waited for 65 minutes in City Council President Mosby’s office until a Board of Estimates Meeting

finished before interviewing him in the privacy of his office. Id.

        The Defendant also falsely claims that “After receiving State’s Attorney Mosby’s tax

information from the Maryland Bar Counsel, instead of referring the information to the IRS for a

civil audit, Mr. Wise used the information as the basis for false criminal tax charges against State’s

Attorney Mosby.” Mot. to Disqualify at 3. As described in the Government’s response to the

Motion to Dismiss, the federal grand jury investigation began before the Bar Counsel’s

investigation and was never limited to investigating only tax-charges as the indictment makes

clear. See discussion supra Section II(B)(5).

        The Defendant claims AUSA Wise has a “conflict of interest,” in contravention of

Maryland Rule 1.7(a)(2). Mot. do Disqualify at 3. That rule provides that, “A conflict of interest

exists if . . . there is a significant risk that the representation of one or more clients will be

materially limited by the attorney's responsibilities to another client, a former clientor a third person



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or by a personal interest of the attorney.” (emphasis added). The Defendant then claims that

“Mr. Wise’s personal and political interests in this matter clearly have ‘materially limited’ his

representation of the Government,” although the Defendant never explains how AUSA Wise’s

representation of the Government has been limited in any way. Id. at 4. The Defendant then offers

the following:

       Mr. Wise has been personally interested in attacking State’s Attorney Mosby since
       at least 2017. See Dkt. 17 at 3-4. Unable to make accusations of leaking details of
       the GTTF investigation stick, due to his lack of supporting evidence, Mr. Wise,
       within weeks of that failure, made political donations to State’s Attorney Mosby’s
       opponents in her last campaign – the only time he had given a campaign donation
       up to that point. Id. at 5.

Id. at 4. For the reasons described in the Government’s response to the Defendant’s Motion, none

of this is true. An ASA did, in fact, tip off Wayne Jenkins and the Defendant fired the ASA for

doing it. See discussion supra Section II(B)(1). Further, the donations that AUSA Wise made

were solicited, as both candidates attest to in the declarations they submitted. Id.

       The Defendant asserts that AUSA Wise violated Rule 3.8 governing the “Special

Responsibilities of a Prosecutor” which provides that a prosecutor refrain from making

“extrajudicial comments that have a substantial likelihood of heightening public condemnation of

the accused.” Mot. to Disqualify at 4. In support of this assertion, the Defendant again falsely

claims that AUSA Wise “falsely accused State’s Attorney Mosby of leaking confidential

information, and also publicly disclosed the existence of the Grand Jury subpoenas issued to

State’s Attorney Mosby and her husband by having them served on Mr. Mosby by the FBI during

a public meeting of the Baltimore City Council.” Id. Both claims are false for the reasons

articulated above and in the Government’s opposition to the Motion to Dismiss. See discussion

supra Section II(B)(1) & (6).




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        The Defendant next claims that AUSA Wise has violated “numerous provisions of the DOJ

Justice Manual.” Mot. to Disqualify at 4. He has not.

        The Defendant falsely claims that AUSA Wise “refused to allow State’s Attorney Mosby”

the opportunity to testify before the Grand Jury in contravention of Section 9-11.152 of the Justice

Manual. Mot. to Disqualify at 4. As described in the Government’s opposition to the Motion to

Dismiss, the Defendant never asked to testify before the grand jury. See discussion supra Section

II(B)(8).

        The Defendant next falsely claims that “Mr. Wise failed to present exculpatory information

provided by Carlton Saunders to the Grand Jury,” in contravention of Section 9-11.233. Mot. to

Disqualify at 5. As the Government described in its opposition to the Motion to Dismiss, the

Defendant has failed to establish that the information provided by Mr. Saunders was not provided

to the Grand Jury. See discussion supra Section II(B)(10). Further, information about campaign

expenditures in 2018 cannot exculpate the Defendant from charges of COVID-19 fraud in 2020

and 2021 and filing false mortgage applications in 2020 and 2021. Id.

        The Defendant next falsely claims that “Mr. Wise violated provisions of the Justice Manual

related to the disclosure of conflicts,” although she fails to identify what provisions she is referring

to. Mot. to Disqualify at 5. The Defendant asserts that “Mr. Wise has provided no assurances, per

the Justice Manual, he has properly reported the potential for a conflict of interest through the

DOJ’s internal systems.” Id. The Government has no idea what the Defendant is referring to when

she refers to “DOJ’s internal systems,” nor what provisions of the Justice Manual the Defendant

believes obligate an Assistant United States Attorney to offer “assurances” to a criminal defendant

about reporting “the potential for a conflict of interest.” And there is no such provision in the

Justice Manual.



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       The Defendant next make a series of false accusations against AUSA Wise that the

Defendant claims show he is acting from a “personal interest,” and is therefore not a “disinterested

prosecutor,” citing Marshall v. Jerrico, Inc., 446 U.S. 238, 248-50 (1980). But the Defendant

misunderstands what “interested” and “disinterested” means in this context. Marshall was a case

involving administrative proceedings to enforce child labor laws. In that case, an agency of the

Department of Labor, the Employments Standards Administration (ESA), imposed a civil fine on

the appellee, a chain of restaurants. The appellee appealed the agency’s imposition of fines to an

administrative law judge who sided with the ESA. The appellee then filed a suit in Federal District

Court challenging the statute that required the fines imposed by the ESA to be returned to the ESA

as reimbursement for its enforcement actions. This provision, according to the appellee, made the

ESA “interested” as opposed to “disinterested” because by taking enforcement actions it could

generate revenue for itself. The Supreme Court rejected the appellee’s contention and held that,

“[i]n this case, we need not say with precision what limits there may be on a financial or personal

interest of one who performs a prosecutorial function, for here the influence alleged to impose bias

is exceptionally remote.” 446 U.S. at 250. Thus, Marshall offers no support for the Defendant’s

assertion that AUSA Wise is an “interested” prosecutor, as opposed to a disinterested one.

       The other Supreme Court case cited by the Defendant Young v. United States ex rel. Vuitton

Et Fils S.A., 481 U.S. 787, 808 (1987) also does not define “interested” and “disinterested” in the

way the Defendant uses those terms in her motion. In Young, the district court judge appointed a

private attorney as a prosecutor to pursue contempt charges against a party to a trademark dispute.

That private attorney was counsel to the other party in the trademark dispute. The Supreme Court

found the appointment of counsel for one of the parties to act as prosecutor in a contempt hearing

against the other party was improper because the prosecutor was “interested.” Thus, like Marshall,



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Young offers the Defendant no support for her contention that AUSA is improperly “interested”

in the outcome of this case.

         The only other case the Defendant cites on the issue of an interested versus disinterested

prosecuted, Ganger v. Peyton, 379 F.2d 709 (4th Cir. 1967). In that case, the petitioner was

charged with assaulting his wife and convicted after trial. The district court set aside the

defendant’s conviction because the state prosecuting attorney represented the defendant’s wife in

a divorce proceeding which was pending at the same time as the criminal trial and was based on

the same alleged assault. Id. at 712. The Fourth Circuit affirmed the district court finding that

         Because of the prosecuting attorney's own self-interest in the civil
         litigation (including the possibility that the size of his fee would be determined by
         what could be exacted from defendant), he was not in a position to exercise
         fairminded judgment with respect to (1) whether to decline to prosecute, (2)
         whether to reduce the charge to a lesser degree of assault, or (3) whether to
         recommend          a     suspended         sentence       of     other      clemency.

Id. at 713. Again, the way in which the Defendant use the terms “interested” and “disinterested”

bears no resemblance to the way in which the Fourth Circuit did in this decision.

         Aside from the lack of any legal support for her position, the Defendant’s factual

contentions on the question of whether AUSA Wise is “interested” or “disinterested,” are all false

for the reasons articulated in the Government’s opposition to her Motion to Dismiss and

summarized above. See discussion supra Section II.



   IV.      THE DEFENDANT IS NOT ENTITLED TO A BILL OF PARTICULARS

         The Defendant argues that she is entitled to a bill of particulars in this case. ECF 16. But

as described below, the Superseding Indictment meets all requirements of the Federal Rules of

Criminal Procedure and properly apprises the Defendant of the allegations against her in advance

of the May 2nd trial in this matter.

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               A. The Legal Standard Governing Motions for a Bill of Particulars

       Pursuant to FED. R. CRIM. PROC. 7(c)(1), an indictment is required to “be a plain, concise,

and definite written statement of the essential facts constituting the offense charged.” An

indictment is sufficient if it “first, contains the elements of the offense charged and fairly informs

a defendant of the charges against which he must defend, and, second, enables him to plead an

acquittal or conviction in a bar of future prosecutions for the same offense.” Hamling v. United

States, 418 U.S. 87, 117 (1974). Likewise, “[t]he purpose of a bill of particulars is to enable a

defendant to obtain sufficient information on the nature of the charges against him so that he may

prepare for trial, minimize the danger of surprise at trial, and enable him to plead his acquittal or

conviction in bar of another prosecution for the same offense.” United States v. Schembari, 484

F.2d 931, 934-35 (4th Cir. 1973). As long as the indictment is sufficient to fulfill these purposes,

a bill of particulars is unnecessary and its denial does not constitute an abuse of discretion. United

States v. Butler, 885 F.2d 195, 199 (4th Cir. 1989); United States v. Jackson, 757 F.2d 1486, 1491

(4th Cir. 1985). A bill of particulars should therefore be required by the court only where the

charges of the indictment are so general that they do not advise the defendant of the specific acts

of which he or she is accused. United States v. Walsh, 194 F.3d 37, 47 (2d Cir. 1999).

       A defendant is not entitled to a bill of particulars as a matter of right. Wong Tai v. United

States, 273 U.S. 77, 82 (1927). Generally, where the indictment contains sufficient detail and the

government provides full discovery, a bill of particulars will not be required. As one commentator

has stated: “If the needed information is in the indictment, then no bill of particulars is required.

The same result is reached if the government has provided the information called for in some other

satisfactory form.” 1 C. Wright, FEDERAL PRACTICE AND PROCEDURE: CRIMINAL 5129 at 437

(1982). See also United States v. Soc’y of Indep. Gasoline Marketers, 624 F.2d 461, 466 (4th Cir.



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1979); United States v. Giese, 597 F.2d 1170, 1180-81 (9th Cir. 1979) (full discovery obviates the

need for a bill of particulars).

        “Acquisition of evidentiary detail is not the function of the bill of particulars.” United

States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990) (quoting Hemphill v. United States, 392 F.2d

45,49 (8th Cir. 1968)). Nor is it intended to allow defendants a preview of how the government

intends to present its evidence at trial, or to permit the defense to explore the legal theories

underlying the government’s case. See United States v. Barnes, 158 F.3d 662, 665-66 (2d Cir.

1998); United States v. Gabriel, 715 F.2d 1447, 1449 (10th Cir. 1983); United States v. Bin Laden,

92 F. Supp. 2d 225, 233 (S.D.N.Y. 2000); United States v. Hsia, 24 F. Supp. 2d 14, 30 (D.D.C.

1998) (“A bill of particulars properly includes clarification of the indictment, not the government’s

proof of its case.”); United States v. DeSalvo, 797 F. Supp. 159, 174-75 (E.D.N.Y. 1992) (motion

for bill of particulars would be denied where “Defendant clearly seeks to discover not just the

contours of the case . . . defendant seeks in detail the sort of arguments that the government will

make to bolster its arguments.”).

        But where, as here, the indictment fully complies with the requirements of the Fifth and

Sixth Amendments and FED. R. CRIM. PROC. 7(c), “[a] bill of particulars is not to be used to provide

detailed disclosure of the government’s evidence in advance of trial.” United States v. Automated

Med. Lab., Inc., 770 F.2d 399, 405 (4th Cir. 1985); United States v. Fletcher, 74 F.3d 49, 53 (4th

Cir. 1996). As another circuit has stated, “A bill of particulars, unlike discovery, is not intended

to provide the defendant with the fruits of the government investigation. . . . Rather, it is intended

to give the defendant only that minimum of information necessary to permit the defendant to

conduct his own investigation.” United States v. Smith, 776 F.2d 1104, 1111 (3rd Cir. 1985)

(citations omitted; emphasis in original). See also United States v. Burgin, 621 F.2d 1352, 1359



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(5th Cir. 1980) (a bill of particulars “is not designed to compel the government to detailed

exposition of its evidence or to explain the legal theories upon which it intends to rely at trial”);

United States v. Anderson, 481 F.2d 685, 690 (4th Cir. 1973) (the function of a bill of particulars

is not to provide detailed disclosure of the government’s evidence in advance of trial, but to supply

any essential detail that may have been omitted from the indictment), affirmed, 417 U.S. 211

(1974); Hemphill, 392 F.2d at 49.

               B. The Indictment Clearly Advises the Defendant of the Specific Allegations
                  Against Her.

       The Defendant’s motion for a bill of particulars is grounded in neither fact nor law. While

the Defendant feigns a lack of understanding of what is a detailed and straightforward indictment

that zeroes in on the Defendant’s lies and false statements, her motion seeks information far afield

of what is required in an indictment. Even the cases the Defendant cites in support of her motion

do not support the Defendant’s expansive definition of the information she claims she needs to

understand the nature of the charges against her. Rather, this motion is nothing more than a

demand for the precise evidence that proves her lies as charged in the Superseding Indictment.

Such a motion is inappropriate. Regardless, the evidence she seeks has been provided to the

Defendant in discovery, and it will be put in front of a jury in due time. 7

       To be convicted of perjury as charged in Counts One and Three, the Government must

prove: (1) that the Defendant under penalty of perjury, subscribed as true, written information; (2)

that the Defendant made false statements as to matters about which the Defendant subscribed as




7
  The Defendant has been given approximately 17,000 pages of discovery. While this may seem
like a substantial number of pages, it is relatively light by comparison to other federal fraud
cases. Moreover, much of the discovery consists of the Defendant’s own bank statements.
Finally, the discovery was transmitted in electronic format for ease of analysis, contains a
manifest, and is categorized under Federal Rule of Criminal Procedure 16.
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true under oath as set forth in the indictment; (3) that the matters as to which it is charged that the

Defendant made false statements were material to the issues under inquiry; (4) that such false

statements were willfully made. Instruction 48–3 Elements of the Offense, 2 Modern Federal Jury

Instructions-Criminal § 48.01 (2020). The indictment lays out the relevant statutory language of

18 U.S.C. § 1621, including an allegation that the Defendant did “willfully and knowingly state

material matter which she did not believe to be true.” The Superseding Indictment additionally

provides the Defendant with notice of the specific documents she signed under penalties of perjury,

the false information contained within, to whom the information was submitted, and the dates on

which she the information was submitted. The Superseding Indictment contains a screenshot of

the actual boxes the Defendant checked that comprise her false statements. The Court would be

hard-pressed to find an indictment that provides more appropriate notice than these counts.

       To be convicted of false statements on a loan application as charged in Counts Two and

Four, the Government must prove: (1) that the Defendant made or caused to be made a false

statement or report relating to an application to a bank (e.g., for a loan or credit card); (2) that the

Defendant acted knowingly; (3) that the false statement or report was made for the purpose of

influencing in any way the bank’s action (e.g., on the loan application); and (4) that the bank was

then insured by the Federal Deposit Insurance Corporation. Instruction 37-17, 2 Modern Federal

Jury Instructions – Criminal. Similarly, the Superseding Indictment contains the relevant statutory

language from 18 U.S.C. § 1014, including that the Defendant “knowingly made a false statement

or report.” In each count, the Superseding Indictment additionally provides the Defendant with

notice of the specific loan applications and dates at issue, as well as the specific information on

those loan applications that were false.




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       Despite being presented with all of this information, the Defendant complains that the

Indictment is somehow “not sufficiently detailed.” Mot. for Bill of Particulars at 7. Specifically,

the Defendant claims the Superseding Indictment does not contain sufficient information for the

Defendant to know “how or why the Government believes the Defendant made perjurious

statements she believed were not true,” and “how or why the Government believes she made

knowingly false statements on two mortgage applications.” Id. at 5 and 7.

       As an initial matter, the Defendant’s request for the Government to provide evidence of

“why the Government” believes anything betrays a fundamental lack of understanding of the law.

This case has been brought because a federal grand jury in the District of Maryland has found

probable cause that the Defendant committed four federal crimes. The subjective belief of “the

Government,” whomever the Defendant is referencing in this part of its motion, is irrelevant. The

Defendant has cited no cases that stand for the proposition that the Government is required to

present evidence in a bill of particulars as to why the Government believes the Defendant to be

guilty, or even how the Government intends to prove it.

       In truth, it appears this entire motion is just a vehicle for the Defendant to seek the evidence

that proves the Defendant possessed the requisite intent to commit the crimes charged. The

evidence of this assertion is found in Section II, “Particulars Requested,” on page 4 of the

Defendant’s motion. This section of the Defendant’s motion contains four separate numbered

categories of information that the Defendant requests. Mot. for Bill of Particulars at 4. Each of

these categories begins with the phrase “Particulars of how…” Id. at 4. Tellingly, the words that

follow the phrase “Particulars of how” in each category include either recitations or summaries of

the false representations made by the defendant in the four counts of the original indictment. The




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Defendant’s own request demonstrates that she needs no further information in order to understand

the charges against her and prepare a defense. 8

       In U.S. v. Cuong Gia Le, 310 F.Supp. 2d 763 (E.D.Va. 2004), a case cited by the Defendant

in her motion, the defense was denied a motion for bill of particulars where the court called the

defendant’s motion “in essence an improper request for evidentiary matters.” Id. at 782. That is

precisely what the Defendant’s request represents here. See id. at 782. The court there responded

unequivocally that “a court must not direct the government to reveal the details of its evidence or

the precise manner in which it will make its proof in a bill of particulars.” Id. at 781 (citing U.S.

v. Automated Medical Labs, Inc. 770 F.2d at 405). Even United States v. Sampson, 448 F.Supp.2d.

(E.D.VA 2006), a case cited by the Defendant that resulted in the issuance of a bill of particulars,

shows the insufficiency of her argument here. In that case, the court ordered a bill of particulars

in a mail fraud case where the indictment failed to state, “which specific documents were

fraudulent, and what was allegedly fraudulent about the documents at issue.” Id. at 696. By

contrast, the Superseding Indictment in this case makes very clear which documents are at issue,

and the very statements in those documents that are alleged to be false. See id. at 696. The

Defendant has been made fully aware of precisely which of her statements a grand jury in this


8
 On page six of the Defendant’s motion, the Defendant goes on at length about what she claims
to have been her “subjective” view of her finances at the time of her lies on the 457(b) plan
withdrawal forms. The Government is not required in a bill of particulars to disprove what the
Defendant appears to preview as her defense in this case. Rather the Government will prove that
the Defendant knew she had not experienced any of the four delineated events to trigger an
“adverse financial consequence” as was required for the withdrawals.

The Defendant then states, “Indeed, the 457(b) administrators never questioned her application,
nor does there seem to be even a mechanism to challenge the authenticity of her application for
her own funds.” This statement goes far afield of the alleged purpose of the motion. Rather, this
appears more an attempt to litigate the facts of trial prior to the trial itself. Improper as such an
attempt is in this motion, it just goes to demonstrate that the Defendant understands the charges
against her and needs no bill of particulars to mount her defense, albeit a defense that appears
more of an argument for jury nullification.
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district has found probable cause to believe were false when she made them. Evidence in support

of these charges has been provided to the Defendant in discovery. The Defendant can expect to

see that evidence again as exhibits at trial. No bill of particulars is warranted.



   V.      CONCLUSION

        The Defendant’s Motion to Dismiss (ECF 17) and to Disqualify Counsel (ECF 18) are a

mishmash of unsupported allegations, inaccuracies, misstatements, and baseless personal attacks.

These patent misrepresentations are as unmoored from any law as they are factually untrue. For

these reasons, both motions should be denied.

        As for the Defendant’s Motion for a Bill of Particulars (ECF 16), because the Defendant

has been fairly apprised of the charges against her by both the Superseding Indictment and

discovery in this case, no bill of particulars is warranted, and that motion should also be denied.



                                               Respectfully submitted,

                                               EREK L. BARRON
                                               UNITED STATES ATTORNEY

                                        By:    _________/s/__________________
                                               Leo J. Wise
                                               Sean R. Delaney
                                               Aaron S.J. Zelinsky
                                               Assistant United States Attorneys



                                 CERTIFICATE OF SERVICE

        I hereby certify that this filing was served on the Defendant via ECF electronic filing.

                                               ___/s/__________________
                                               Leo J. Wise
                                               Assistant United States Attorney

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